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           In the United States Court of Federal Claims
                                      No. 14-183L
                               (Filed: November 7, 2017)

                                           )
 IDEKER FARMS, INC., et al.,               )
                                           )
                     Plaintiffs,           )
                                           )
 v.                                        )
                                           )
 THE UNITED STATES,                        )
                                           )
                     Defendant.            )
                                           )

                      QUESTIONS FOR ORAL ARGUMENT

1.    Plaintiffs’ Standing.

      In order to maintain a taking claim, the plaintiff must have a recognized property
      interest under state law.

      A.     The government challenges the standing of the plaintiffs listed on Appendix
             A to this order. The parties should be prepared at closing arguments to
             discuss the standing of these plaintiffs with appropriate citations to the legal
             authority under state law that counsel for either side is relying on.

      B.     The government also challenges whether plaintiffs claiming a taking of
             their crops pursuant to a crop-sharing agreement may maintain a taking
             claim on the grounds that they are seeking “consequential damages” and
             not a taking of a property interest. The parties should be prepared to
             discuss this issue and in addition to the cases relied upon by the
             government, should also be prepared to discuss Barnes v. United States,
             538 F.2d 865 (Ct. Cl. 1976) and King v. United States, 427 F.2d 767 (Ct.
             Cl. 1970), which apparently recognize a taking of crops as a valid taking
             claim.

2.    Legal Standards. In order to succeed on the merits of their taking claims the
      plaintiffs in this phase of the litigation need to prove the first 3 elements of a
      taking claim as discussed by the Federal Circuit on remand in Arkansas Fish &
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Game Comm’n v. United States, 736 F.3d 1364 (2013): 1. Causation; 2.
Foreseeability; and 3. Severity/Duration.

A.    Causation:

      In preparing their argument, the parties should understand that the court has
      viewed this issue in the context of 3 basic causation scenarios: (1) flooding
      that plaintiffs claim was caused by the Corps’ changes to the River
      Management structures after 2004 - e.g. shallow water habitat creation;
      dike notching, etc. and in releasing water for the benefit of listed species;
      (2) flooding in 2011 that was allegedly caused by the Corps’ failure to take
      steps to lower the reservoirs prior to May 2011 and thus plaintiffs claim
      caused a flood of greater size and duration; and (3) flooding plaintiffs claim
      was caused by levee breaches and failures for the years identified, which
      depending on the year in question relates to the Corps’ actions in changing
      the River Management structures and releasing water from the dams or for
      the reasons identified above regarding Corps actions in 2011.

      There appears to be some dispute between the parties about the nature of
      the plaintiffs’ taking claims and the standards to apply. As the court
      understands the plaintiffs’ case, there are claims for: (1) flowage easements
      in connection with potentially all years in which taking claims are made;
      (2) a permanent taking for those plaintiffs who claim that portions of their
      properties are no longer useable following the 2011 flood; and (3)
      permanent takings of personal property, including crops, homes, etc.,
      following various years of flooding (although primarily 2011).

      The court is of the view that all 3 elements must be proven for each type of
      taking claim. The parties should be prepared at closing arguments to
      discuss the standards applicable to each of the plaintiffs’ taking claims and
      whether different standards apply to different taking claims.

      Questions:

      i.     The parties should be prepared to discuss the plaintiffs’ reliance on a
             theory of multiple acts by the Corps to prove causation. The
             plaintiffs rely on Cotton Land Co. et al. v. United States, 75 F. Supp.
             232, (Ct. Cl. 1948), among other cases, to explain why in flooding
             cases they may prove their case by relying on multiple acts of the
             Corps. (See discussion of Cotton in Cary, et al. v. United States, 552,
             F.3d 1373 (Fed. Cir. 2009). The government relies on Acceptance
             Insurance Companies, Inc. v. United States, 583 F.3d 849, 855 to
             argue that the plaintiffs must “pinpoint” the specific acts which


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            plaintiffs claim caused flooding. Where, in the unique
            circumstances of this case, the Corps has taken a River-wide
            approach to meeting its Endangered Species Act obligations and has
            prepared studies (EISs) to accomplish its responsibilities, how
            should the court consider the Corps’ changes in River Management
            and in operating the dams for the benefit of endangered species?

     ii.    The parties should also be prepared to discuss the “but for” test for
            establishing causation and the distinction between proving that the
            government’s actions were a “but for” cause versus a contributing
            factor. See Bartz v. United Stated, 633 F.2d 571 (Ct. Cl. 1980).
            Does the court understand that the parties agree that the
            government’s actions need not be the “sole” cause to prove
            causation? Does the “but for” test require precise quantification of
            the contributions of other causes in order to establish causation?

     iii.   The parties should be prepared to discuss Cary and the issue of
            “intervening cause” with a focus on the differences noted between
            flooding and fire cases. In addition, the parties should be prepared
            to discuss which party has the burden of proof with regard to
            “intervening cause” the plaintiffs or the government.

B.   Foreseeability:

     As the parties know, this court may only compensate plaintiffs for a taking
     and not for a tort. See, e.g., Moden v United States, 404 F.3d 1335 (Fed. Cir
     2005). This court has not have jurisdiction over claims sounding in tort,
     and under the Flood Control Act, 33 U.S.C. § 702c, the government is
     immune from tort liability. Under Ark. Fish & Game Comm’n v. United
     States, 133 S.Ct. 511, 522 (2012) and Federal Circuit precedent, in order to
     prove the injury is not the result of a tort, the plaintiff must prove that the
     injury was a “foreseeable,” in that the government “intended to invade a
     protected property interest” or that “the asserted invasion was the direct,
     natural, or probable result of an authorized activity and not an incidental or
     consequential injury.” Ridge Line, Inc. v United States, 346 F.3d 1346,
     1355 (Fed. Cir. 2003). See also John Hortsmann Co. v. United States, 257
     U.S. 138, 144-45 (1921) and In re Chicago v. United States, 799 F.2d 317,
     325-26 (7th Cir. 1986).

     Questions:

     i.     For each of the 3 categories of taking claims that the court has
            identified above, the parties should be prepared to discuss what each


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                   party understands is the nature of the proof required with regard to
                   forseeability. In this connection, the parties should be prepared to
                   discuss whether subjective beliefs regarding potential flooding are
                   necessary to establish foreseeability.

            ii.    What role does expert opinion testimony play to show that flooding
                   was or was not accidental or unpredictable?

     C.     Severity/Duration:

            With regard to duration and severity, the court reiterates that issues
            regarding the location of various plaintiffs’ properties within the floodplain
            and with regard to United States v. Sponenbarger, 308 U.S. 256 (1939) and
            its progeny are not relevant in this phase of the litigation, but will be
            addressed in the next phase of the litigation should the plaintiffs prevail on
            these first 3 elements.

            Question:

            i.     Does the court understand that the parties agree that to prove a
                   taking plaintiffs need to prove that the injury to their property
                   deprived them of “customary use” discussed in the Federal Circuit’s
                   Ark. Fish & Game Comm’n remand decision: “[o]n addressing the
                   severity issue, the Supreme Court characterized the asserted
                   interference with the Commission’s property rights in this case as
                   depriving the Commission ‘of the customary use of the Management
                   Area as a forest and wildlife preserve.’” 736 F.3d 1364, 1375?

3.   Background Facts. The court has reviewed the National Research Council
     reports, PX 16 and PX 17, the various EISs, Exhibit 1 to the government’s post-
     trial brief, as well as other exhibits and testimony regarding the history of the
     Missouri River both before and after regulation, together with the history of
     Corps’ actions in response to the ESA, the multi-district litigation, and the 2003
     Biological Opinion and 2004/2006 Master Manuals.

     The court has not found any fundamental dispute regarding the basic facts of what
     the Missouri River was like before it was regulated, how the Corps regulated the
     River and managed it post-regulation, and what the Corps has had to do to comply
     with its obligations under the ESA, with regard to changing River Management
     structures and in making decisions regarding operations of the dams. To the
     extent that either party contends that there is a fundamental dispute regarding these
     facts, the party should be prepared to provide a detailed list of the facts (leaving



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       aside how they may have been characterized by a party) 1 that the party believes
       are in dispute. The party must accompany that list with an explanation and with
       transcript and exhibit citations as to why the facts discussed in the above-cited
       exhibits are not correct.

4.     Expert and Fact Testimony (Not Including Testimony From The Individual
       Plaintiffs). The parties should be prepared to address in detail the critical
       opinions of their respective experts and the fact testimony they are relying upon
       for each of the years of flooding. The court expects that each year of flooding will
       be addressed separately, as it was in the testimony.

       The application of those facts and opinions to individual properties will be
       discussed separately in the discussion on Issue 5 below.

       These presentations should focus on (a) causation and (b) foreseeability for each
       year of flooding. Proof of severity should be left for discussion in the presentations
       on each individual plaintiffs’ claims.

       The presentations should be focused on both the opinion and fact evidence
       supporting or challenging flooding for each year separately and should include: 1.
       “but for” causation and foreseeablity evidence regarding the overbank, seepage
       and blocked drainage claims separate from the 2011 flood and levee failures; 2.
       “but for” causation and foreseeability evidence for the 2011 flood; and 3. “but for”
       causation and foreseeability evidence for each levee failure.

       In this connection, the court expects a discussion regarding the plaintiffs’ theory
       that the actions of the Corps in establishing Shallow Water Habitat and in creating
       habitat, opening chutes, etc. have led to a shallower and slower river during
       periods of higher flow. The parties should be prepared to explain whether this
       evidence shows only a correlation to plaintiffs’ flooding or can be used to
       establish causation. If this evidence can establish causation, the parties should
       also be prepared to explain how (a) floodplain development has constricted the
       River (along roads, levees), (b) tributary flows causing the flooding, together with
       other weather events, and (c) natural changes to the River must be considered by
       the court. If the government contends that these factors negate plaintiffs’
       causation claim, do these impacts need to be quantified?

       In the parties’ presentations, the court expects a discussion regarding precipitation
       trends in the Missouri River basin and whether plaintiffs are making claims for

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 The court found Exhibit 1 “Plaintiffs’ Missing or Inaccurate Citations” attached to the
government’s post trial brief (ECF No. 382-1) too difficult to review and follow.


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     years with unanticipated amounts of precipitation both above and below the main
     stem dams. (The specific conflicts between Dr. Hromadka’s weather charts and
     Mr. Woodbury’s for each individual plaintiff will be discussed in the context of
     the individual claims.).

     With regard to 2011, in addition to reviewing the expert and fact evidence, the
     court also needs the parties to explain their positions regarding Dr. Christensen’s
     acknowledgment that in the “but for” world, there would have been flooding.
     What evidence is there that a taking claim remains if the plaintiffs’ home would
     have been flooded or crops lost from the flood that would have occurred
     regardless?

     With regard to levee failures and breaches, the court expects a discussion that
     clarifies the parties’ expert positions regarding the cause of each failure and
     whether levee failures or breaches could have been anticipated for each of the
     years in question. The parties should be prepared to review the opinions and fact
     testimony in detail.

5.   Individual Plaintiff Claims. The court must apply the legal standards to the facts
     and opinions presented for each individual plaintiff for each taking claim. The
     parties should be prepared to review the evidence for each plaintiff, taking into
     account the prior discussions to show either that the plaintiff has met his or her
     burden of proof or has not. For example, in their presentations, the parties should
     be prepared to explain whether the claimed dates of flooding correlate to the
     evidence presented by Dr. Christensen for the plaintiffs or Mr. Woodbury for the
     government, as well as the dates of River Management changes in the vicinity of
     the subject property.

     As noted above, the parties should use this portion of the presentation to address
     conflicts between Dr. Hromodka’s and Mr. Woodbury’s weather claims and to
     discuss whether plaintiffs have met their burden of proof with regard to the
     severity/duration element of liability.

6.   Time Limits. The court anticipates thorough closing arguments and wants to
     provide the parties with the time they need to make their presentations. For each
     issue area, the plaintiffs will go first and will have the last word. Each party
     should anticipate that they will have up to 3 hours to discuss each of the 5 separate
     issue areas for a total of 15 hours per side. For issues 4 and 5, the parties will
     switch back and forth for each year and then for each plaintiff before moving on
     the next year or plaintiff.

     IT IS SO ORDERED.



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                                         s/Nancy B. Firestone
                                         NANCY B. FIRESTONE
                                         Senior Judge




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